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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                        MDL NO 2924
   PRODUCTS LIABILITY                                                                 20-MD-2924
   LITIGATION

                                                             JUDGE ROBIN L ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                      PRETRIAL ORDER # 56
                              Seventh Census Implementation Order:
                              Deficiency Process for Unfiled Claimants

          In Pretrial Order # 38, this Court set forth a process for addressing deficiencies in the

   Census Plus Forms (CPFs) submitted by Filed Plaintiffs in this MDL. This Order sets forth a

   parallel process for addressing deficiencies in the CPFs submitted to the Census Registry by

   Unfiled Claimants—individuals who were investigating potential claims they may have related to

   the subject matter of this MDL, but have not filed any complaint.

   I.     TREATMENT OF DEFICIENCIES

          In Pretrial Order # 15, the Court created a Registry for Unfiled Claimants. The Order

   recognized that “registrations must be undertaken in good faith and be complete to be useful for

   data analytics.” At the same time, the Order anticipated that inevitably some incomplete CPFs

   would be filed. As such, the Order provided that Litigation Management, Inc. (LMI) would

   provide notice to the Unfiled Claimants of “any incomplete, presumptively erroneous or missing

   information” to ensure that these be corrected.

          The Order implicitly balanced the concern with ensuring that CPFs must be complete to be

   useful with the concern that inevitable minor missing details should not result in removal from the
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   Registry. As such, the Court provided that “failure to provide important information . . . absent

   good cause shown, will result in exclusion of the case from the Registry, and inability to partake

   in any benefits associated with the Registry including but not limited to tolling of the statute of

   limitations, cost sharing with respect to obtaining medical records and other documentation,

   federal court orders facilitating discovery and other benefits” of the Registry.

   II.    DEFICIENCY TIMELINE

          A.      NOTICE OF DEFICIENCIES

          LMI is directed to provide to Unfiled Claimants notice of any missing or incomplete

   information, as provided in Pretrial Order # 15. The Special Master (in consultation with Adam

   Pulaski for Plaintiffs and Joseph Petrosinelli for Defendants, collectively “Registry Coordinating

   Counsel”) may direct LMI to provide this information in multiple tranches; for example, providing

   notice of incomplete or missing information first and providing notice of potentially erroneous

   information at a later date, or addressing missing data first and addressing missing/incomplete

   documentation at a later date. The Special Master is also given the discretion to determine the

   timing, method, and content of these notices, in consultation with Registry Coordinating Counsel.

          The notice to Unfiled Claimants shall clearly state that notice is being provided that the

   CPF and/or accompanying documentation is incomplete. It shall state that the missing information

   (or documentation) is required to be completed, and that if important information remains

   incomplete or missing (“Important Deficiencies”), absent good cause shown, the case will be

   excluded from the Registry.

          Unfiled Claimants shall have 45 days to correct any missing information from the date the

   notice is provided by LMI. However, in recognition of the added complexity of the initial tranche

   of deficiency processing, that it will likely be the largest tranche of CPFs in this MDL, and that

   such deadline may incorporate both the November and December holidays, Unfiled Claimants
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   who are in the first tranche of deficiencies only (those notices issued later this month) shall have

   60 calendar days to correct the deficiencies.

          If Registry Coodinating Counsel cannot agree to an extension of a deadline on a particular

   matter, the Special Master shall have the authority to extend the deadline as to any particular

   Unfiled Claimant, in consultation with Registry Coordinating Counsel, upon good cause shown.

   The Special Master may determine the appropriate format for such extension requests.

          B.      FAILURE TO CORRECT IMPORTANT DEFICIENCIES

          LMI shall provide notice to any Unfiled Claimant who has an Important Deficiency that

   has not been cured within the above referenced timeframes that his/her claim will be removed in

   five (5) days from the Registry. Unfiled Claimants are reminded that tolling will expire ninety

   (90) days after the date the Claimant exits the Registry. If an Unfiled Claimant files a corrected

   and substantially complete CPF within those 90 days and either (a) LMI determines the Unfiled

   Claimant no longer has any missing information, or (b) Registry Coordinating Counsel (and/or the

   Special Master if needed) determine the Unfiled Claimant has either corrected the Important

   Deficiency or has good cause for any that remain, then the Unfiled Claimant may re-enter the

   Registry having cured his/her deficiency.

          Unfiled Claimants with Important Deficiencies are not eligible to request medical records

   through Lexitas, to use the Retailer Portal to request customer loyalty/pharmacy records, or to

   obtain other Registry benefits until such important deficiency is cured.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 23rd day of

   November, 2020.


                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE


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